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F. #2§)161101209 t * NUV 2 7 2017 ir
UNITED sTATEs DISTRICT coURT 4 LONG lSLAND OFFICE
EASTERN DISTRICT oF NEW YORK
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UNITED sTATEs oF AMERICA MI s D E M E A N o R
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-against- ' ' g q 0 6 5 3
Cr NO " ..,'e'. "';’
LLoYD LANDSMAN, (T. 21, U S. c., §§ 331(¢), 333(3)(1),
334(a)(1), 853(a) and 853(p); _ T 18, U.S.C.,
Defendant. §§ 982(a)(7) and 3551 e_t Lq.)
______ >_ _ _ _ _ _ X MMJ¢

THE UNITED STATES ATTORNEY CHARGES:

RECEIPT OF MISBRANDED DRUGS IN INTERSTATE
COMMERCE AND DELIVERY THEREOF FOR PAY

l. On or about and between May 1, 2013 and June l, 2016, both dates
being approximate and inclusive, within the Eastern Districtof New York and elsewhere, the
defendant LLOYD LANDSMAN did knowingly and intentionally receive in interstate
commerce from locations outside the United States and cause the receipt in interstate
commerce from locations outside the United States and cause the delivery and proffered
delivery thereof for pay to recipients, to wit: patients located in Smithtown, New York, one
or more drugs that were misbranded, to wit: non-FDA-approved inj ectable botulinum toxin
(“Botox”).

(Title Zl, United States Code, Sections 331(c) and 333(a)(1); Title 18, United

States Code, Sections 3551 e_t Y_q.)

CRIMINAL FORFEITURE ALLEGATION
2. The United States hereby gives notice to the defendant that, upon his
conviction of the offense charged herein, the government will seek forfeiture in accordance
with Title 21, United States Code, Section 334(a)(l), which requires any person convicted of .
such offense to forfeit any article of food, drug, or cosmetic that is adulterated or misbranded
when introduced into or while in interstate commerce or while held for sale after shipment in
interstate commerce, and Title 18, United States Code, Section 982(a)(7) and Title 21,
United States Code, Section 853(a), which require any person convicted of such offense to
forfeit: (a) any property constituting, or derived from, any proceeds obtained directly or
indirectly as the result of such offense, including but not limited to 3300,000 and (b) any
property used, or intended to be used, in any manner or part, to commit, or to facilitate the
commission of, such offenses including but not limited to the real property and buildings
located at 994 West Jericho Turnpike, Suite 102, Smithtown, New York 11787.
3. If any of the above-described forfeitable property, as a result of any act

or omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be

divided without difficulty;

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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),
to seek forfeiture of any other property of the defendant up to the value of the forfeitable
property described in this forfeiture allegation including but not limited to: the real property
and premises located at 994 West Jericho Turnpike, Suite 102, Smithtown, New York 11787.
(Title 21, United States Code, Sections 334(a)(1), 853(a) and 853(p); Title 18,

United States Code, Section 982(a)(7))

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ACTING UNITED sTATEs ATTORNEY
EAsTERN DISTRICT oF NEW YoRK

F. #20\6R0|209

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No.

 

UNITED STATES DISTRICT COURT
EAsTERN Dis¢ric¢ Of NEW YoRK

CRIMINAL DIVISION'

 

THE UNITED STATES OF AMERICA

VS.

LLOYD LANDSMAN, ’

Defendants.

MISDEMEANOR INFORMATION

(T. 21, U.S.C., §§ 33 I(c), 333(a)(l), 334(a)(l), 853(a) and 853(p);
T. 18, U.S.C., §§ 982(a)(7) and 3551 e_tsiq.)

 

 

 

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________________-__________________?¢;e;e?s¢;z
Fi[ed in open court this _________________ day
of ____________ A.D 20 _____
__________________-___"_______________C/Erk
Bail,$

Charles P. Kelly, Assistant`U.S. Attorney (631) 715- 7866

